     Case 1:12-cr-00168-DAD-BAM Document 52 Filed 03/14/14 Page 1 of 2


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2    P. O. Box 5622
     Fresno, California 93755-5622
3    559/248-9833

4    Attorney for defendant Shirley Davidson

5

6                IN THE UNITED STATES DISTRICT COURT IN AND FOR

7                         THE EASTERN DISTRICT OF CALIFORNIA

8
     UNITED STATES OF AMERICA,            )           Case No. 1:12-cr-00168 AWI
                                          )
9
                                          )           STIPULATION AND
                        Plaintiff,        )           ORDER FOR CONTINUANCE
10
                                          )
     v.                                   )
11
                                          )           New Date: March 31, 2014
     SHIRLEY DAVIDSON, et al.,            )           Time: 10:00 a.m.
12
                                          )           Crtrm: Hon. Anthony W. Ishii
                        Defendants.       )
13
     ___________________________________ )
14
            IT IS HEREBY STIPULATED by and between the parties hereto, and through
15
     their respective attorneys of record herein, Grant B. Rabenn, counsel for the United
16
     States, and Carolyn D. Phillips, counsel for defendant Shirley Davidson, that the
17
     Competency Hearing in the above-entitled matter now set for March 17, 2014, shall be
18
     vacated and rescheduled for March 31, 2014, to provide adequate time for the defense
19
     to review the expert report received February 20, 2014, and prepare for the competency
20
     hearing.
21
                   So stipulated.
22
     Stipulation and Order Re: Competency Hearing
23   U. S. v. Shirley Davidson, et al., Case No. 1:12-cr-00168 AWI/BAM                      1
     Case 1:12-cr-00168-DAD-BAM Document 52 Filed 03/14/14 Page 2 of 2


1
     Dated: March 13, 2014                       /s/ Carolyn D. Phillips
2                                              CAROLYN D. PHILLIPS
                                               Attorney for Shirley Davidson
3
     Dated: March 13, 2014                      BENJAMIN B. WAGNER
4                                               United States Attorney

5
                                         By:    /s/Grant B. Rabenn
6                                               GRANT B. RABENN
                                                Attorneys for the United States.
7

8

9

10

11                                             ORDER

12   IT IS HEREBY ORDERED that the competency hearing in the above-captioned matter

13   now set for March 17, 2014, shall be vacated and rescheduled for March 31, 2014 at 10:00

14   a.m.

15
     IT IS SO ORDERED.
16
     Dated: March 13, 2014
                                               SENIOR DISTRICT JUDGE
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22
     Stipulation and Order Re: Competency Hearing
23   U. S. v. Shirley Davidson, et al., Case No. 1:12-cr-00168 AWI/BAM                     2
